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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF INDIANA
                            INDIANAPOLIS DIVISION

 NIKI DASILVA, SAMANTHA LOZANO,               )
 GABRIELLE MCLEMORE, and                      )
 MARA REARDON,                                )
                                              )
              Plaintiffs,                     )
                                              )
        v.                                    ) Case No. 1:19-cv-02453-JRS-DLP
                                              )
 STATE OF INDIANA and CURTIS T. HILL, )
 JR., individually and in his capacity as the )
 Indiana Attorney General,                    )
                                              )
              Defendants.                     )

      MEMORANDUM IN SUPPORT OF MOTION TO DISMISS CLAIMS
              AGAINST THE STATE OF INDIANA AND
        THE ATTORNEY GENERAL IN HIS OFFICIAL CAPACITY

       Plaintiffs (employees and an elected official of the legislative branch) have filed

 a sprawling, eleven-count complaint primarily related to their employment against

 the State of Indiana and Curtis T. Hill, Jr. (an elected official of the executive branch),

 notwithstanding that neither the State nor Attorney General Hill is their employer

 or supervisor. This incongruity should give the Court pause, as it suggests that

 Plaintiffs have not given proper consideration to whether the fundamental principles

 of federalism and separation of powers allow their claims to proceed in this Court. In

 other words, a federal court does not serve as a suitable forum for all grievances. On

 closer review, Plaintiffs have no route to the relief they seek here, and the only

 appropriate resolution to their claims is dismissal.
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       Specifically, the State of Indiana and the Attorney General of Indiana, sued in

 his official capacity, ask that this Court dismiss Counts I, II, VI, and VII against the

 State, as well as Counts III through V against the Attorney General, inasmuch as

 Plaintiffs actually bring claims against him in his official capacity. Depending on the

 count, dismissal is warranted because the Court lacks subject-matter jurisdiction to

 hear the claim and/or Plaintiffs fail to state a claim upon which relief can be granted.

       While the particular reasons for dismissal are laid out below, it is important at

 the outset to acknowledge in any case where a state employee sues the State itself

 that “the constitutional role of the States sets them apart from other employers and

 defendants.” Welch v. Tex. Dep’t of Highways & Pub. Transp., 483 U.S. 468, 477

 (1987). As the Supreme Court has frequently recognized, with limited exceptions,

 “[t]hat a state may not be sued without its consent is a fundamental rule of

 jurisprudence having so important a bearing upon the construction of the

 Constitution of the United States that it has become established by repeated

 decisions of this court that the entire judicial power granted by the Constitution does

 not embrace authority to entertain a suit brought by private parties against a state

 without consent given.” In re New York, 256 U.S. 490, 497 (1921).

       The gravity of this principle is so great that Congress has enacted laws with

 special solicitude for state sovereignty. For example, “when Congress extended Title

 VII protections to state employees in 1972 it exempted high-level state employees in

 recognition of the federalism concerns encompassed in their inclusion.” Bd. of Cnty.

 Comm’rs v. EEOC, 405 F.3d 840, 848–49 (10th Cir. 2005). When it later sought to




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 fold in these employees with the Government Employee Rights Act of 1991 (GERA),

 Congress deliberately designed a different procedural route than is typical for Title

 VII claims. See DePriest v. Milligan, 823 F.3d 1179, 1183 n.3 (8th Cir. 2016) (stating

 that “[c]laims brought under the GERA follow a different procedural path than most

 claims under federal discrimination statutes”). Plaintiffs must file a GERA complaint

 with the EEOC, the EEOC will issue a final order, and plaintiffs may seek appeal of

 an adverse administrative decision to a federal court of appeals. See 42 U.S.C. §

 2000e-16c(b)(1), (c); 28 U.S.C. §§ 2342–43.

       Accordingly, when state employees bring Title VII claims but should have

 sought relief under GERA instead, as here, the question of jurisdiction and/or ability

 to bring Title VII claims at all is a serious matter of constitutional dimensions that

 should be immediately resolved.     Cf. Will v. Hallock, 546 U.S. 345, 352 (2006)

 (explaining that “honoring the separation of powers” and “respecting a State’s

 dignitary interests” are values supporting resolution before trial). So too should the

 general bar under the Eleventh Amendment to Plaintiffs’ § 1983 claims against the

 State, as well as the prohibition against the State being considered a “person” in the

 plain language of the statute, be addressed at this early juncture.

       Ultimately, while federal jurisdiction may provide a route for relief in some

 matters of employment discrimination or harassment, this case is not one of them.

 Rather, this case should be on a one-way road to dismissal.




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     STATEMENT OF FACTS FOR PURPOSES OF MOTION TO DISMISS

       It has been the tradition after the end of a legislative session, or Sine Die, for

 Indiana legislators, legislative staff, and lobbyists to celebrate at AJ’s Lounge, a

 small, neighborhood bar in Indianapolis, Indiana. ECF No. 1 at 5, ¶¶ 38–40. In the

 early hours of March 15, 2018, after the 2018 legislative session had adjourned, Niki

 DaSilva, Samantha Lozano, Gabrielle McLemore, and Mara Reardon headed to AJ’s

 Lounge to celebrate Sine Die. See id. at 6–9, ¶¶ 41, 57, 70, 77.

       Ms. DaSilva has been a Legislative Assistant for the Indiana Senate

 Republican Caucus since June 6, 2016. Id. at 4, ¶¶ 27–28. Ms. Lozano has been a

 Legislative Assistant for Representatives Reardon, Sue Errington, and Ed DeLaney

 since January 2018. Id. at 5, ¶ 30. Ms. McLemore has been the Communications

 Director for the Indiana Senate Democrats since May 2018.             Id. at 5, ¶ 32.

 Representative Reardon has been a member of the House, representing the 12th

 District, since 2006. Id. at 5, ¶ 33.

       Plaintiffs allege that they were surprised to see Indiana Attorney General

 Curtis T. Hill, Jr. during the late-night/early-morning celebration at AJ’s Lounge as

 he was not an expected attendee. See id. at 6–10 and ¶¶ 44–45, 79. Plaintiffs claim

 that Attorney General Hill made several inappropriate comments and had physical

 contact with them without their consent. See id. at 6–10.

       Plaintiffs made their accusations public. Id. at 10–11, ¶¶ 91–92. Attorney

 General Hill defended himself against these accusations through a variety of media,

 including Twitter, Facebook, websites, and press releases. See id. at 12–14. Plaintiffs




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 do not—and cannot—contend that Attorney General Hill is their employer or has

 supervisory authority over them. Indeed, Ms. McLemore asserts in the complaint

 that “she had to prepare a press release for Senator Lanane” and that “her role as

 Communications Director required her to advise her employer of the best course of

 action, which was met with apprehension by the employer.” Id. at 11, ¶¶ 100–101

 (emphases added).

       Three plaintiffs, Mss. DeSilva, Lozano, and McLemore, filed charges of

 discrimination under Title VII of the Civil Rights Act of 1964 with the Equal

 Employment Opportunity Commission (EEOC). Id. at 3, ¶¶ 15–17. They did not file

 a complaint under the GERA. The EEOC terminated its processing of their charges

 and issued, on request, notices of right to sue. Id. at 3, ¶¶ 15–17 and Exhibits 1–3.

 This lawsuit was initiated on that basis. See id.

                              STANDARD OF REVIEW

       If the Court lacks subject matter jurisdiction, it should dismiss the case under

 Rule 12(b)(1) of the Federal Rules of Civil Procedure. “When considering a motion to

 dismiss under Rule 12(b)(1), the district court may properly look beyond the

 jurisdictional allegations of the complaint and view whatever evidence has been

 submitted on the issue to determine whether in fact subject matter jurisdiction

 exists.” Estate of Eiteljorg ex rel. Eiteljorg v. Eiteljorg, 813 F. Supp. 2d 1069, 1074

 (S.D. Ind. 2011) (quoting Capitol Leasing Co. v. FDIC, 999 F.2d 188, 191 (7th Cir.

 1993)). As the party invoking the federal court’s jurisdiction, it is Plaintiffs’ burden

 to demonstrate that subject-matter jurisdiction exists for the claims raised. Alonso




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 v. Blue Sky Resorts, LLC, 179 F. Supp. 3d 857, 860 (S.D. Ind. 2016) (citing United

 Phosphorus, Ltd. v. Angus Chem. Co., 322 F.3d 942, 946 (7th Cir. 2003), overruled on

 other grounds by Minn–Chem, Inc. v. Agrium, Inc., 683 F.3d 845 (7th Cir. 2012) (en

 banc)).

       A complaint must “state a claim to relief that is plausible on its face” to survive

 a motion to dismiss under Rule 12(b)(6). Bell Atl. Corp. v. Twombly, 550 U.S. 544,

 570 (2007); Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). Two core principles underlie

 this standard. “First, although the complaint’s factual allegations are accepted as

 true at the pleading stage, allegations in the form of legal conclusions are insufficient

 to survive a Rule 12(b)(6) motion.” McReynolds v. Merrill Lynch & Co., 694 F.3d 873,

 885 (7th Cir. 2012). “Second, the plausibility standard calls for a ‘context-specific’

 inquiry that requires the court ‘to draw on its judicial experience and common sense.’”

 Id. (quoting Iqbal, 556 U.S. at 679).

                                      ARGUMENT

       Plaintiffs’ claims can be organized in two broad categories: Counts I through

 VII are brought under federal law, and Counts VIII through XI are brought under

 state (Indiana) law. Specifically, Counts I and II are brought against the State of

 Indiana under Title VII; Counts III through V are brought against Curtis T. Hill, Jr.,

 individually, under 42 U.S.C. § 1983; Counts VI through VII are brought against the

 State of Indiana under § 1983; and Counts VIII through XI are brought against Curtis

 T. Hill, Jr., individually, under state tort law.




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       This motion only addresses and seeks dismissal of Counts I, II, VI, and VII

 against the State of Indiana and Counts III through V against the Attorney General

 to the extent, if any, he is sued in his official capacity. The Court should dismiss all

 of these claims because the Court lacks subject-matter jurisdiction to hear the claim

 and/or Plaintiffs fail to state a claim upon which relief can be granted.

       Plaintiffs bring Counts I and II against the State under Title VII. But they are

 not covered by Title VII, so these claims should be dismissed. Counts VI and VII

 should also be dismissed because Plaintiffs’ § 1983 claims against the State are

 barred by sovereign immunity.

       Counts III through V involve muddled claims under § 1983. These three counts

 at places seem to be brought against Attorney General Hill only in his individual

 capacity under 42 U.S.C. § 1983, namely when Plaintiffs list the relief sought as

 damages only, meaning individual capacity only. In other places—specifically in the

 caption, ECF No. 1 at 1 (“and Curtis T. Hill, Jr., individually and in his capacity as

 the Indiana Attorney General”) and paragraph 10 of the complaint, id. at 2, ¶ 10

 (“sued in his individual and official capacity”)—Plaintiffs appear to bring a suit

 against Attorney General Hill in his official capacity. But even if Plaintiffs are

 pursuing official capacity claims under § 1983, those claims should be dismissed

 because Plaintiffs’ requested relief for “Defendant Hill to retract all defamatory

 statements and/or apologize for such statements,” ECF No. 1 at 37, is not a recognized

 form of injunctive relief.




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 I.    Plaintiffs Are Not Entitled to Relief Under Title VII

       A.     Plaintiffs are not employees under Title VII

       Counts I and II of the complaint are sexual harassment and retaliation claims

 under Title VII of the Civil Rights Act of 1964 against the State of Indiana. But there

 is an inexorable and fatal flaw in these claims: Plaintiffs are not covered by Title VII.

 Title VII provides generally that “[i]t shall be an unlawful employment practice for

 an employer . . . to discriminate against any individual with respect to his

 compensation, terms, conditions, or privileges of employment, because of such

 individual’s race, color, religion, sex, or national origin.” 42 U.S.C. § 2000e-2(a)(1).

 It further “prohibits employers from retaliating against employees for complaining

 about discrimination.” Mollet v. City of Greenfield, No. 18-3685, 2019 WL 2455735,

 at *2 (7th Cir. June 13, 2019) (citing 42 U.S.C. § 2000e-3(a)).

       Congress enacted Title VII, however, with four notable exceptions to the

 protected class of “employees.” Title VII categorically does not apply to “any person

 elected to public office in any State or political subdivision of any State by the

 qualified voters thereof.” 42 U.S.C. § 2000e(f). Plaintiffs concede this point by

 omitting Representative Reardon from Counts I and II. See ECF No. 1 at 5, ¶ 33.

 The remaining exceptions are “any person chosen by such officer to be on such officer’s

 personal staff, or an appointee on the policy making level or an immediate adviser

 with respect to the exercise of the constitutional or legal powers of the office.” 42

 U.S.C. § 2000e(f).




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       It is plain from the face of the Complaint that Ms. DaSilva, Lozano, and

 McLemore belong to one or more of these three categories. Ms. DaSilva has been a

 Legislative Assistant for the Indiana Senate Republican Caucus since June 6, 2016.

 ECF No. 1 at 4, ¶¶ 27–28.         Ms. Lozano has been a Legislative Assistant for

 Representatives Reardon, Sue Errington, and Ed DeLaney since January 2018. Id.

 at 5, ¶ 30. Ms. McLemore has been the Communications Director for the Indiana

 Senate Democrats since May 2018. Id. at 5, ¶ 32.

       All three Plaintiffs—Ms. Lozano in particular—could be “personal staff” of

 legislators. Although the Seventh Circuit has not adopted a standard for the personal

 staff exception, “courts commonly apply a non-exhaustive, six-factor test to determine

 whether a plaintiff falls within the ‘personal staff ’ exception of Title VII,” which looks

 at the following: “(1) whether the elected official has plenary powers of appointment

 and removal, (2) whether the person in the position at issue is personally accountable

 to only that elected official, (3) whether the person in the position at issue represents

 the elected official in the eyes of the public, (4) whether the elected official exercises

 a considerable amount of control over the position, (5) the level of the position within

 the organization’s chain of command, and (6) the actual intimacy of the working

 relationship between the elected official and the person filling the position.”

 Lockwood v. McMillan, 237 F. Supp. 3d 840, 857 (S.D. Ind. 2017) (quoting Teneyuca

 v. Bexar Cnty., 767 F.2d 148, 151–52 (5th Cir. 1985)). Although the details in the

 complaint are sparse, Legislative Assistants and Communication Directors fit the

 conventional mold of personal staff, as indicated by these factors.




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       While Plaintiffs may contend that Ms. DaSilva and Ms. McLemore are not

 personal staff because they work for a larger group of legislators, respectively the

 Indiana Senate Republican Caucus and the Indiana Senate Democrats, this is where

 the last two exceptions come into play. A person is “considered an appointee on the

 policymaking level if the position held by the individual authorizes, either directly or

 indirectly, meaningful input into governmental decision-making on issues where

 there is room for principled disagreement on goals or their implementation.” Id. at

 860 (quoting Opp v. Office of State’s Attorney of Cook Cnty., 630 F.3d 616, 619–20 (7th

 Cir. 2010)).   For instance, it seems eminently reasonable that Communications

 Director McLemore—whose role as a “member of the senior staff” requires “her to

 advise her employer of the best course of action” with respect to press releases, ECF

 No. 1 at 11, ¶¶ 100–01 and 15, ¶ 127—is an appointee who provides meaningful input.

       Lastly, the “[f]actors relevant to the immediate adviser exemption include: (1)

 whether the elected official is charged with appointing or terminating individuals in

 the position; (2) whether the position reports to an intermediary appointee rather

 than directly to the elected official; and (3) whether the elected official exercises

 control over the independent judgment of one holding the position.” Kelley v. City of

 Albuquerque, 542 F.3d 802, 809 (10th Cir. 2008). Again, Legislative Assistants and

 Communication Directors are the types of positions who work closely with and are

 supervised by legislators. Accordingly, each Plaintiff falls outside of Title VII, which

 means that Counts I and II must be dismissed. See generally Levitin v. Nw. Cmty.




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 Hosp., 923 F.3d 499, 501 (7th Cir. 2019) (describing the question of whether a plaintiff

 qualifies as an employee under Title VII as a “threshold inquiry”).

       B.      Plaintiffs are not employees of the State under state law

       Plaintiffs also cannot overcome the obstacle that they are not employees of the

 State under state law, which completely undermines any Title VII claims against the

 State. The Seventh Circuit has explained that courts should employ an “economic

 realities” test to determine who is an employer, where the most important factor is

 the putative employer’s “right to control.” Frey v. Coleman, 903 F.3d 671, 676 (7th

 Cir. 2018).

       With respect to Plaintiffs who are legislative employees and an elected official,

 Indiana law explicitly provides that they are excluded from the State Civil Service

 System. Ind. Code § 4-15-2.2-1(b)(1) (excluding “[t]he legislative department of state

 government” from the system). What this means is that Plaintiffs are deliberately

 situated outside of a system that “deals with, among other things, hiring, dismissal,

 demotion, reassignment, and suspension of state employees, classification of

 positions based on the authority, duties, and responsibilities of each position,

 development of a pay plan, and establishment of performance standards.” Shoemaker

 v. Ind. State Police Dep’t, 62 N.E.3d 1242, 1247 (Ind. Ct. App. 2016) (citing Ind. Code

 § 4-15-2.2-1). Put another way, by being excluded from such regulation, Plaintiffs are

 not controlled by the State.

       Without that ability to “control” Plaintiffs, which is set by state law, the State

 of Indiana is not their employer as a matter of law. Thus, Plaintiffs’ Title VII claims




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 against the State—which need to be addressed to their employer—fail on the

 additional basis that Plaintiffs targeted an entity that is not their employer.

       C.     Plaintiffs failed to proceed under GERA

       Congress exempted individuals like Mss. DaSilva, Lozano, and McLemore from

 relief under Title VII, recognizing significant issues related to federalism. If these

 plaintiffs do have relief under federal employment law, that relief would need to come

 through another statute, the Government Employee Rights Act of 1991, 42 U.S.C. §

 2000e-16a et seq..1 Congress enacted GERA to “ameliorate[] the consequences to

 individuals of falling within [the aforementioned] exemptions” and to “confer[] Title

 VII rights on those individuals covered by exemptions 2, 3, and 4, but not on the

 elected official herself.” Kelley, 542 F.3d at 808 n.4. To seek that relief, however,

 plaintiffs are required to follow “procedures [that] differ considerably from those

 ordinarily available under Title VII.” Id. Specifically, plaintiffs must file a GERA

 complaint with the EEOC, the EEOC will issue a final order, and plaintiffs may seek

 appeal of an adverse administrative decision to a federal court of appeals. See 42

 U.S.C. § 2000e-16c(b)(1), (c); see also 28 U.S.C. §§ 2342–43 (providing for jurisdiction

 by a federal court of appeals). So, instead of providing these categories of employees



 1 Neither the Seventh Circuit nor the Supreme Court has resolved the question of
 whether GERA abrogated state sovereign immunity. When Congress enforces
 substantive guarantees of § 1 of the Fourteenth Amendment through § 5, the
 legislation must exhibit “congruence and proportionality between the injury to be
 prevented or remedied and the means adopted to that end.” Bd. of Trs. of Univ. of
 Alabama v. Garrett, 531 U.S. 356, 365 (2001) (citing City of Boerne v. Flores, 521 U.S.
 507, 536 (1997)). Congress failed to meet this “congruence and proportionality”
 requirement properly to abrogate a state’s sovereign immunity. Cf. Alaska v. EEOC,
 564 F.3d 1062, 1066 (9th Cir. 2009).


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 a right to a jury trial, Congress has mandated administrative-type proceedings, more

 akin to the type of proceedings provided by the Administrative Procedures Act, 5

 U.S.C. § 551 et seq. See 42 U.S.C. § 2000e-16c(b)–(c).

       But Plaintiffs did not follow that procedure in this case. ECF No. 1 at 3, ¶¶

 15–17 and Exhibits 1–3 (declaring that Mss. DaSilva, Lozano, and McLemore filed

 charges of discrimination with the EEOC, the EEOC terminated its processing of the

 charges and issued notices of right to sue, and this lawsuit was initiated on that

 basis). Since “the courts of appeals, rather than the district courts, have exclusive

 jurisdiction to review final orders from the EEOC on GERA claims,” but Plaintiffs

 improperly filed suit in this Court, Counts I and II must be dismissed as this Court

 lacks jurisdiction to hear them. See DePriest v. Milligan, 823 F.3d 1179, 1183 n.3

 (8th Cir. 2016) (collecting cases); Kelley, 542 F.3d at 808 n.4; see also Strong v.

 Delaware Cnty., 976 F. Supp. 2d 1038, 1045–46 (S.D. Ind. 2013).

       Dismissal should be with prejudice. See, e.g., Chism v. N.C. Gen. Assemb., No.

 5:15-cv-348-FL, 2016 WL 3920211, at *4 (E.D.N.C. July 15, 2016) (recognizing that

 “[w]hile plaintiff’s position is that a GERA claim re-filed with the EEOC will relate

 back to the date of the initial charge, the status of any re-filed claim with the EEOC

 is not a matter within the jurisdiction of this court” (internal quotation marks and

 citation omitted)). And even if Plaintiffs attempt to refile a GERA claim with the

 EEOC, they are out of luck because any such filing would be untimely. 42 U.S.C. §

 2000e-16c(b)(1).   Without a doubt, the plaintiffs failed to comply with GERA’s




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 requirements. Accordingly, their claims against the State of Indiana under Title VII

 should be dismissed.

 II.   Plaintiffs’ Claims Against the State of Indiana Under § 1983 Are
       Barred by Sovereign Immunity

       Counts VI and VII are brought against the State of Indiana under 42 U.S.C. §

 1983. But these claims are barred because of the Eleventh Amendment and because

 the State of Indiana does not meet the definition of a “person” under § 1983.

       The Eleventh Amendment restricts the “Judicial power of the United States”

 so as not to “extend to any suit in law or equity, commenced or prosecuted against

 one of the United States by Citizens of another State, or by Citizens or Subjects of

 any Foreign State.”     The Supreme Court has understood this to stand for the

 “presupposition . . . first, that each State is a sovereign entity in our federal system;

 and second, that it is inherent in the nature of sovereignty not to be amenable to the

 suit of an individual without its consent.” Seminole Tribe of Florida v. Florida, 517

 U.S. 44, 54 (1996) (internal quotation marks and citations omitted). That is, “federal

 jurisdiction over suits against unconsenting States ‘was not contemplated by the

 Constitution when establishing the judicial power of the United States.’” Id. (quoting

 Hans v. Louisiana, 134 U.S. 1, 15 (1890)). The State of Indiana has not consented to

 suit in federal court; consequently, Plaintiffs’ claims against the State of Indiana

 under § 1983 are barred.

       Further, the State of Indiana cannot be sued under § 1983 for the additional

 reason that the State is not a “person” under the plain language of the statute.

 Section 1983 applies to “[e]very person who, under color of any [state] statute . . .



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 subjects, or causes to be subjected, any citizen of the United States . . . to the

 deprivation of any rights, privileges, or immunities secured by the Constitution and

 laws.” 42 U.S.C. § 1983 (emphasis added). A state, however, is not a person within

 the meaning of § 1983. See, e.g., Will v. Mich. Dep’t of State Police, 491 U.S. 58, 71

 (1989) (holding that “neither a State nor its officials acting in their official capacities

 are ‘persons’ under § 1983”).

        Accordingly, Plaintiffs have failed to assert valid claims under § 1983 against

 a “person” because the State of Indiana is not a person under § 1983. Id. “Congress,

 in passing § 1983, had no intention to disturb the States’ Eleventh Amendment

 immunity and so to alter the federal-state balance in that respect.” Will, 491 U.S. at

 66. Thus, states cannot be sued in federal court by private individuals without their

 consent. Kimel v. Florida Bd. of Regents, 528 U.S. 62, 73 (2000); accord Pennhurst

 State Sch. & Hosp. v. Halderman, 465 U.S. 89, 100 (1984). Indiana has not consented

 to suit in federal court, and its sovereign immunity has not been abrogated by

 Congress. Counts VI and VII should be dismissed.

 III.   Retaliation Claims Are Not Cognizable Under Equal Protection

        Count VII should also be dismissed on the basis that retaliation claims may

 not be brought under the Equal Protection Clause. See, e.g., Boyd v. Ill. State Police,

 384 F.3d 888, 898 (7th Cir. 2004) (acknowledging that “the right to be free from

 retaliation may be vindicated under the First Amendment or Title VII, but not the

 equal protection clause”). In short, the Equal Protection Clause “does not establish a




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 general right to be free from retaliation.” Grossbaum v. Indianapolis-Marion Cnty.

 Bldg. Auth., 100 F.3d 1287, 1296 n.8 (7th Cir. 1996).

 IV.   Any § 1983 Claims Against the Attorney General in His Official
       Capacity Should Be Dismissed

       As noted above, it is not entirely clear whether Plaintiffs even brought claims

 under Section 1983 against the Attorney General in his official capacity.           They

 suggest in the caption and in paragraph 10 of the complaint that they intend to sue

 Attorney General Hill in his official capacity. See ECF No. 1 at 1 and 2, ¶ 10. But

 Counts III through V only target Curtis T. Hill, Jr., individually. Id. at 29–31. This

 is reinforced by the fact that, with respect to these counts, Plaintiffs list only damages

 as the relief sought, which means suing Mr. Hill in his individual capacity only

 because damages are not available in an official-capacity suit. Buckhannon Bd. &

 Care Home, Inc. v. W. Va. Dep’t of Health & Human Servs., 532 U.S. 598, 609 n.10

 (2001) (observing that “States and state officers acting in their official capacity are

 immune from suits for damages in federal court” (citing Edelman v. Jordan, 415 U.S.

 651 (1974))); see generally Kentucky v. Graham, 473 U.S. 159, 166 (1985) (explaining

 that “an official-capacity suit is, in all respects other than name, to be treated as a

 suit against the entity [of which the officer is an agent]”).

       If Plaintiffs truly intend to sue Curtis T. Hill, Jr. only in his individual

 capacity, then any mention in their complaint of suing the Attorney General in his

 official capacity should be stricken.    Even if Plaintiffs intended to sue Attorney

 General Hill in his official capacity, however, their § 1983 claims should still be

 dismissed because Plaintiffs’ requested relief for “Defendant Hill to retract all



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 defamatory statements and/or apologize for such statements,” ECF No. 1 at 37, is not

 a recognized form of injunctive relief. See, e.g., Kesterson v. Kent State Univ., 345 F.

 Supp. 3d 855, 886 (N.D. Ohio 2018) (acknowledging that “[a]n apology for past

 wrongdoing is not prospective injunctive relief and is not the type of relief that is

 cognizable in a § 1983 action against a state official in his official capacity”).

           The only relief allowed under an official-capacity suit is prospective injunctive

 relief.    Green v. Mansour, 474 U.S. 64, 68 (1985) (clarifying that the “Eleventh

 Amendment does not prevent federal courts from granting prospective injunctive

 relief to prevent a continuing violation of federal law” but the Court has “refused to

 extend the reasoning of Young, however, to claims for retrospective relief”).           An

 apology, however, is “an acknowledgment of past wrongdoing . . . , something [federal

 courts are] without authority to order.” Kesterson, 345 F. Supp. 3d at 886; accord

 Burkes v. Tranquilli, No. 08-474, 2008 WL 2682606, at *4 (W.D. Pa. July 2, 2008)

 (asserting that, “[t]o the extent that Plaintiff’s requested relief regarding an apology

 can be construed as a request for injunctive relief against the Defendants, such a

 claim for injunctive relief fails to state a claim as a matter of law”); see generally

 McKee v. Turner, 491 F.2d 1106, 1107 (9th Cir. 1974) (stating that courts “are not

 commissioned to run around getting apologies”).

                                       CONCLUSION

           Accordingly, Defendants ask that the Court dismiss Counts I, II, VI, and VII

 against the State of Indiana, along with Counts III through V against the Attorney




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 General in his official capacity, because the Court lacks subject matter jurisdiction

 and Plaintiffs failed to state a claim for which relief may be granted.

                                         Respectfully submitted,

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